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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF MARYLAND
                                    AT BALTIMORE

In re:

Janet Ann Sydnor                         Case No. 08-14229 DK
                                         Jointly administered
         Debtor

In re:

Charles Vernon Clarkson                  Case No. 09-22084 DK

         Debtor

   DEBTORS' MOTION TO RECONSIDER, VACATE AND/OR AMEND CONSENT
     ORDER GRANTING MOTION FOR MOTION FOR [SIC] AUTHORITY TO
                   COMPROMISE CONTROVERSIES

         Janet Ann Sydnor and Charles Vernon Clarkson, jointly administered debtors

(collectively, "Debtors"), by undersigned counsel, hereby move this honorable Court for an

Order reconsidering, vacating and/or amending the Consent Order Granting Motion for Motion

for (sic) Authority to Compromise Controversies entered by this Court on December 19, 2013

(the "Consent Order") [Dkt. No. 312], on the following grounds:

         1.       This Court has jurisdiction over this contested matter pursuant to 28 U.S.C. §

1334. Venue of this matter is proper pursuant to 28 U.S.C. § 1409. This matter is a core

proceeding pursuant to 28 U.S.C, § 157(b)(2)(A),(E),(G),(M),(N) and (O).

         2.       The Debtors initiated these cases by filing voluntary petitions under Chapter 12 of

the Bankruptcy Code, 11 U.S.C. § 101 et seq. The Chapter 12 petitions were subsequently

converted to Chapter and then to Chapter 7 and Zvi Guttman is the duly appointed and serving

Chapter 7 trustee.

         3.       Property of these jointly administered estates include:
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               a. Real property located at 23349/41 Cove Road, Deal Island, Maryland 21821

                     (the "Deal Island Property")

               b. Real property located at 3946 Robinson Neck Road, Taylors Island, Maryland

                     21699 (the "Taylors Island Property"); and

               c. Various causes of action (collectively, the "Claims") asserted by the Debtors

                     against Lakefront Investors LLC, Trustcapital Investments, LLC, Equity Trust

                     Company Custodian FBO Nicholas John Lazarchick IRA and Nicholas John

                     Lazarchick (TTEE), CJR Duck Associates LLC and Nicholas John Lazarchick

                     ("Lenders").

(The Deal Island Property and the Taylors Island Property are hereinafter collectively referred to

as the "Properties"). One or both of the Properties constitute the Debtors' principal residence. The

Lenders assert consensual liens and security interests in the Properties.

       4.      Pursuant to the Consent Order, the Lenders and the Trustee have obtained the

following relief:

               a. The Claims have been dismissed;

               b. The Trustee is authorized to deliver to the Lenders quitclaim deeds or deeds in

                     lieu of foreclosure for the Properties;

               c. The automatic stay of Section 362(a) of the Bankruptcy Code is terminated to

                     authorize the Lenders to "exercise their rights and remedies under their loan

                     documents and applicable non-bankruptcy law, including, without limitation,

                     conducting foreclosure sales of the properties."

Debtors believe that entry of the Consent Order relative to the provisions awarding stay relief

and authorizing conveyance of the Properties constitutes a clear error in the law justifying relief




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under Rule 9023 of the Federal Rules of Bankruptcy Procedure and Rule 59 of the Federal Rules

of Civil Procedure.

       5.      Failure to Properly Obtain Relief from the Automatic Stay. The Motion for

Authority to Compromise Controversies (the "Compromise Motion") [Dkt. No. 286] was not

served on either of the Debtors. Moreover, the caption for said Motion was not in conformity

with Official Bankruptcy Form 16D as required by the local rules of this court on motions for

relief from stay, see Local Rule 4001-1(a). Moreover, contrary to the local rules, the

Compromise Motion combined a request for relief from the automatic stay with other relief.

Finally, the Compromise Motion, although seeking an order authorizing relief from stay, did not

observe the following requirements imposed by Local Rule 4001-1(a):

       (b) Contents of Motion for Relief from Stay. The following material, when applicable,
       must be included in a motion for relief from stay:

       (1) A detailed statement of the debt owed to Movant;

       (2) If periodic payments are in arrears, the amount of arrears accrued prepetition
       and postpetition;

       (3) A description of the property encumbered;

       (4) A description of the security interest involved, with attached documents that
       evidence the security interest and its perfection;

       (5) A statement of the basis for the relief claimed, such as, a lack of adequate
       protection or the absence of equity and that the property is not necessary for an
       effective reorganization. The specific facts constituting cause shall be set forth if a
       motion is brought for cause;

       (6) If Movant asserts a valuation of the subject property, the motion should state
       the amount of the valuation, the date, and the basis therefor (appraisal, blue book,
       etc.);

       (7) The specific nature of the relief from stay that is requested.

In light of these defects, this Court should not have approved that portion of the Compromise

Motion that pertained to the lifting of the automatic stay. Moreover, due to the severity of these



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defects the request for relief from the automatic stay was never properly before the Court, and

therefore authorizing such relief was a clear legal error.

        6.      Failure to Justify Conveyance of the Properties. Due to the proposed conveyance

of the Properties to the Lenders, the Compromise Motion acts as a motion seeking authority to

sell the Properties outside of the ordinary course of business. Such sales are governed by Section

363 of the Bankruptcy Code. However, there is nothing in the Compromise Motion to suggest

that the Trustee has done any due diligence as to the value of the Properties or done anything to

maximize the value of the conveyance of the Properties for the benefit of the estate. In fact, there

is nothing in the record before this Court to suggest that the Trustee has taken any measures to

satisfy his burden to show that the sale of the Properties is in the best interest of the estate:

        The trustee bears the burden to prove a sound business reason; a fair sale price;
        adequate and reasonable notice; and the buyer is a good faith purchaser. The
        trustee's duty is to maximize the value obtained from a sale, but he must also
        avoid undue risk. The Chapter 7 trustee's primary role is to liquidate property for
        the benefit of unsecured creditors. … The trustee is granted wide discretion in the
        conduct of the sale, and the court is granted wide latitude in deciding whether to
        grant or deny approval. The court may interfere with the trustee's judgment to
        safeguard the diverse interests of the debtor, creditors, bidders, and equity
        holders. Sales are not to be directed by the "hue and cry of the most vocal special
        interest groups." The court may consider many salient factors. Some relevant
        factors for this case include the proportionate value of the asset to the estate as a
        whole and the proceeds to be obtained from the disposition.

         A good faith purchaser is one who buys in good faith and for value. A buyer in
        good faith is one who buys through a sale which does not involve fraud, collusion
        between the purchaser and other bidders or the trustee, or an attempt to take
        grossly unfair advantage of other bidders. … The trustee must provide evidence
        regarding the value of the asset to be sold in order for the court to judge the
        fairness of the sale. The trustee's duty to creditors and the estate requires more
        than mere adoption of the appraisal advanced by the buyer.

         The trustee also bears the burden of proof regarding the prospective purchaser's
        good faith, and he cannot avoid the burden by failing to put on evidence. The
        court cannot infer good faith from an evidentiary record silent on the question
        because such an inference would invert the burden of proof onto the objecting
        party. The issue of the prospective purchaser's good faith is not always limited to
        situations involving fraud or collusive bidding. Failure to reveal material facts and


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       failure to reveal ulterior motives which may affect the court's reasoning fails the
       good faith requirement as well.

                                          *       *       *

        Where property is of inconsequential value to the estate, abandonment under §
       554, rather than sale under § 363, is the proper course.

In re Buerge, 479 B.R. 101, 106-107 (Bankr. D. Kan 2012). In this case, the trustee made no

evidentiary showing that he has attempted to maximize value in the sale of the Properties, nor

that the Lenders are good faith purchasers for value. To the contrary, it appears that by wrapping

up their entire controversy with the estate for a payment of only $50,000, the Lenders, the

estate's most vocal special interest group, succeeded in obtaining rights in the Properties without

any exposure to the open market.

       7.       Debtors retain at least three interests in the Properties under Maryland law that

this Court should have considered prior to granting the Compromise Motion: the Debtors'

possessory interest in residential, owner-occupied real property; the Debtors' right to redeem the

Properties prior to a foreclosure sale; and the Debtors' right to cure defaults at least one day prior

to a foreclosure sale. The Consent Order, however, disregards these interests. These are interests

that the Debtors could have preserved and protected through an exemption in the Properties.

Indeed, the Compromise Motion and Consent Order substantially deprive the Debtors of these

rights that are specifically protected under Maryland law.

       8.      Debtors move this court for reconsideration of the Consent Order pursuant to Rule

9023 of the Federal Rules of Bankruptcy Procedure, incorporating into bankruptcy cases Rule 59

of the Federal Rules of Civil Procedure. Rule 59 provides:

       (a) In General.

        (1) Grounds for New Trial. The court may, on motion, grant a new trial on all or
       some of the issues—and to any party—as follows:



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        (A) after a jury trial, for any reason for which a new trial has heretofore been
       granted in an action at law in federal court; or

        (B) after a nonjury trial, for any reason for which a rehearing has heretofore been
       granted in a suit in equity in federal court.

        (2) Further Action After a Nonjury Trial. After a nonjury trial, the court may, on
       motion for a new trial, open the judgment if one has been entered, take additional
       testimony, amend findings of fact and conclusions of law or make new ones, and
       direct the entry of a new judgment.

        (b) Time to File a Motion for a New Trial. A motion for a new trial must be filed
       no later than 28 days after the entry of judgment.

        (c) Time to Serve Affidavits. When a motion for a new trial is based on
       affidavits, they must be filed with the motion. The opposing party has 14 days
       after being served to file opposing affidavits. The court may permit reply
       affidavits.

        (d) New Trial on the Court's Initiative or for Reasons Not in the Motion. No later
       than 28 days after the entry of judgment, the court, on its own, may order a new
       trial for any reason that would justify granting one on a party's motion. After
       giving the parties notice and an opportunity to be heard, the court may grant a
       timely motion for a new trial for a reason not stated in the motion. In either event,
       the court must specify the reasons in its order.

        (e) Motion to Alter or Amend a Judgment. A motion to alter or amend a
       judgment must be filed no later than 28 days after the entry of the judgment.


The 4th Circuit has recognized

       that there are three grounds for amending an earlier judgment: (1) to
       accommodate an intervening change in controlling law; (2) to account for new
       evidence not available at trial; or (3) to correct a clear error of law or prevent
       manifest injustice.

Pacific Ins. Co. v. American Nat. Fire Ins., 148 F.3d 396, 403. (4th Cir. 1998). In that case, the

4th Circuit upheld the grant of a new trial on the third basis, to correct a clear error of law or

prevent manifest injustice.

       In this case, the Court committed a clear error of law in granting relief that was never

properly brought before the Court and upon which there was no evidentiary basis. The trustee

sought a compromise of a controversy under Rule 9019, a standard that has a different


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evidentiary basis than either a motion for relief from the automatic stay or a motion to authorize

sale of property of the estate. Where it is arguable that the trustee failed to even satisfy the

burden under Rule 9019, certainly the trustee brought forward no evidence in support of the

proposed conveyance of the Properties or the lifting of the automatic stay.

       The trustee's failure to observe any of the procedural requirements in relief from stay/sale

of property jurisprudence, and the Court's tolerance of this failure, have resulted in manifest

injustice. The Debtors are deprived of the foreclosure defenses they have fought hard to preserve

for over five years. Without any evidentiary basis, the Debtors will now be stripped of their state

law rights and their home. The Lenders, upon payment of only $50,000, have engineered a

wholesale evisceration of the due process protections built into the Bankruptcy Code. Moreover,

the Consent Order fails to establish how the $50,000 is to be apportioned: whether part to

satisfaction of the Claims, part in exchange for conveyance of the Properties, or all of either.

This failure therefore runs afoul of Rule 6004(f)(1) that upon completion of a sale

       an itemized statement of the property sold, the name of each purchaser, and the
       price received for each item or lot or for the property as a whole if sold in bulk
       shall be filed.

Finally, the trustee cannot complain that the Compromise Motion was not really a disguised

motion to sell estate property or to lift the automatic stay: the Consent Order specifically calls for

a waiver of the stays imposed by FRBP 4001 and 6004. Certainly the waiver of these important

stays were not included within the Consent Order by accident.

       WHEREFORE, Janet Ann Sydnor and Charles Vernon Clarkson respectfully request that

this Court enter an Order:

       A.      Vacating the Consent Order; and

       B.      Granting such other and further relief as this Court deems just and proper.




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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 2nd day of January, 2014, copies of the foregoing
Motion and Proposed Order were sent by the Court's electronic filing system and by regular U.S.
mail, postage prepaid, to:

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